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                                   1                                    UNITED STATES DISTRICT COURT

                                   2                                 NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4          CHRISTOPHER WILLIAMS ,                        Case No. 3:22-cv-00990-JD
                                                        Plaintiff(s),
                                   5
                                                                                            APPLICATION FOR ADMISSION OF
                                                  v.                                        ATTORNEY PRO HAC VICE
                                   6
                                                                                            (CIVIL LOCAL RULE 11-3)
                                   7          WELLS FARGO BANK, N.A ,
                                                        Defendant(s).
                                   8

                                   9

                                  10          I, Benjamin L. Crump            , an active member in good standing of the bar of

                                  11    N.D. Fla.; Fla.; Tenn.; D.C.          , hereby respectfully apply for admission to practice pro hac

                                  12   vice in the Northern District of California representing: Plaintiffs                        in the
Northern District of California
 United States District Court




                                  13   above-entitled action. My local co-counsel in this case is Sam Sani                         , an

                                  14   attorney who is a member of the bar of this Court in good standing and who maintains an office

                                  15                                                                     273993
                                       within the State of California. Local co-counsel’s bar number is: _________________.

                                  16
                                       122 S. Calhoun St., Tallahassee, FL 32301            Sani Law, APC, 15720 Ventura Blvd, Ste 405,
                                  17    MY ADDRESS OF RECORD                                ELOCAL
                                                                                                i COCA  91436’S ADDRESS OF RECORD
                                                                                                     -COUNSEL

                                  18   800-235-0444                                         310-935-0405
                                        MY TELEPHONE # OF RECORD                             LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD
                                  19
                                       Court@BenCrump.com                                   ssani@sanilawfirm.com
                                  20    MY EMAIL ADDRESS OF RECORD                           LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD

                                  21

                                  22          I am an active member in good standing of a United States Court or of the highest court of
                                  23   another State or the District of Columbia, as indicated above; my bar number is: 72583               .
                                  24          A true and correct copy of a certificate of good standing or equivalent official document
                                  25   from said bar is attached to this application.
                                  26                                                                  0
                                              I have been granted pro hac vice admission by the Court _______ times in the 12 months
                                  27   preceding this application.
                                  28
                                             Case 3:22-cv-00990-JD Document 24 Filed 04/15/22 Page 2 of 2




                                   1            I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially

                                   2   the Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local

                                   3   Rules. I declare under penalty of perjury that the foregoing is true and correct.

                                   4   Dated: April 14, 2022                                         Benjamin L. Crump
                                                                                                     APPLICANT
                                   5

                                   6

                                   7

                                   8                                  ORDER GRANTING APPLICATION

                                   9                          FOR ADMISSION OF ATTORNEY PRO HAC VICE

                                  10

                                  11            IT IS HEREBY ORDERED THAT the application of Benjamin L. Crump                       is

                                  12   granted, subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney
Northern District of California
 United States District Court




                                  13   must indicate appearance pro hac vice. Service of papers upon, and communication with, local co-

                                  14   counsel designated in the application will constitute notice to the party.

                                  15   Dated: 4/15/2022

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                                  17
                                                                                  UNITED STATES
                                                                                            TES DISTRIC
                                                                                                DISTRICT JUDGE
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                                       Updated 11/2021                                   2
